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                SUBMISSION WITHOUT ORAL ARGUMENT
                               Case No. 23-5044

                  UNITED STATES COURT OF APPEALS
             FOR THE DISTRICT OF COLUMBIA CIRCUIT

                              IN RE: SEALED CASE,


    Appeal from the United States District Court for the District of Columbia,
                              No. 1:23-sc-00031
                              Hon. Judge Howell

  UNOPPOSED MOTION FOR EXTENSION OF TIME FOR FILING OF
   BRIEFS AMICUS CURIAE IN SUPPORT OF THE PETITION FOR
                   REHEARING EN BANC

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 September 5, 2023                    Electronic Frontier Foundation
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                 CORPORATE DISCLOSURE STATEMENT

       Pursuant to D.C. Circuit Rule 26.1 and Federal Rule of Appellate Procedure

 26.1, proposed amicus submits the following corporate disclosure statement: The

 Electronic Frontier Foundation is a donor-funded, nonprofit civil liberties

 organization, has no parent corporation, and does not issue stock.



 September 5, 2023                            /s/ David Greene
                                              David Greene

                                        Attorneys for Amicus Curiae
                                        Electronic Frontier Foundation




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       Pursuant to Federal Rule of Appellate Procedure 26(b) and D.C. Circuit

 Rules 29 and 35(f), the Electronic Frontier Foundation requests an extension of

 time for proposed amici curiae to seek invitation from the Court to participate in

 this case until seven days after the petition for rehearing en banc is unsealed.

 Appellant and Appellee have indicated they do not oppose this motion.

       The Electronic Frontier Foundation is a member-supported nonprofit

 organization devoted to protecting civil liberties and free expression in law,

 technology, and policy. It intends to seek an invitation from the Court to

 participate as amicus in support of the petition for rehearing en banc.

       Appellant X Corp. filed its petition for rehearing en banc under seal on

 September 1, 2023. Under Federal Rule of Appellate Procedure 26(a)(6) and

 Circuit Rule 29(b), any amicus brief in support of the petition must be filed by

 September 8, 2023. However, because the petition remains under seal, amici will

 not be able to apprise themselves of the arguments in it. An extension of the

 deadline for any amicus briefs invited by the Court until seven days after the

 petition is unsealed would aid proposed amici in ensuring their briefs are helpful

 to the Court and not duplicative of the petitioner’s arguments. See, e.g., Prairie

 Rivers Network v. Dynegy Midwest Generation, LLC, 976 F.3d 761, 763 (7th Cir.

 2020) (accepting amicus briefs that “add value” to court’s “evaluation of the

 issues presented on appeal”).



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       Accordingly, the Electronic Frontier Foundation respectfully requests the

 Court extend the deadline for filing of amicus briefs in support of the petition for

 rehearing en banc until seven days after the unsealing of the petition.



 September 5, 2023                Respectfully submitted,

                                  ELECTRONIC FRONTIER FOUNDATION

                               By:       /s/ David Greene
                                     David Greene

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                         CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2023 I electronically filed the

 foregoing with the Clerk of the Court for the United States Court of Appeals for

 the District of Columbia Circuit by using the appellate CM/ECF system.

       I certify that all participants in the case are registered CM/ECF users and

 that service will be accomplished by the appellate CM/ECF system.


                                         /s/ David Greene
                                        David Greene

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